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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

In re Terrorist Attacks on September 11,2001 | 03 MDL 1570 (GBD)(SN)

 

 

 

This document relates to:

Jessica DeRubbio, et al. v. Islamic Republic of Iran, No. 1:18-cv-05306 (GBD) (SN)
Chang Don Kim, et al. v. Islamic Republic of Iran, No. 1:18-cv-11870 (GBD) (SN)
~-Gordon Aamoth, Sr., et al. v. Islamic Republic of Iran; No. 1:18-cv-12276 (GBD) (SN)
Lloyd A. Abel Sr., et al. v. Islamic Republic of Iran, No. 1:18-cv-11837 (GBD) (SN)
Roberta Agyeman, et al. v. Islamic Republic of Iran, No. 1.18-cv-05320 (GBD) (SN)
Marinella Hemenway, et al. v. Islamic Republic of Iran, No, 1:18-cv-12277 (GBD) (SN)
Bakahityar Kamardinova, et al. v. Islamic Republic of Iran, No. 1:18-cv-05339 (GBD) (SN)
Matthew Rowenhorst, et al. v. Islamic Republic of Iran, No. 1:18-cv-12387 (GBD) (SN)
August Bernaerts, et al. v. Islamic Republic of Iran, No. 1:19-cvy-11865 (GBD) (SN)

Ber Barry Aron, et al. v. Islamic Republic of Iran, No. 1:20-cv-09376 (GBD) (SN)

Paul Asaro, et al. v. Islamic Republic of Iran, No. 1:20-cv-10460 (GBD) (SN)

Michael Bianco, et al. v. Islamic Republic of Iran, No. 1:20-cv-10902 (GBD) (SN)

AMENDED [PROPOSED] ORDER OF PARTIAL FINAL DEFAULT JUDGMENTS IN

THE ABOVE-CAPTIONED MATTERS ON BEHALF OF THE PLAINTIFFS
IDENTIFIED IN EXHIBITS A AND EXHIBITS B

Upon consideration of the evidence and arguments submitted by Plaintiffs identified in
Exhibits A and Exhibits B to this Order, Plaintiffs in the above-captioned matters, who are each a

spouse, parent, child, or sibling (or the estate of a spouse, parent, child, or sibling) of a victim

 

killed in the terrorist attacks on September 11, 2001 as specifically identified in annexed Exhibits

A-1 to A-12 (collectively, “Exhibits A”), or the estate of an individual who was killed in the

terrorist attacks on September 11, 2001 as specifically identified in annexed Exhibits B-1 to B-5

 

 

(collectively, “Exhibits B”), and the judgment by default for liability only against Defendant

Islamic Republic of Iran (“Tran”) entered or sought as follows:

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LIABILITY | FOR LIABILITY | THAT WAS
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Gordon Aamoth, No. 1:18- | 08/14/2019 | ECF No, 4852 | 09/03/2019 | ECF No. 5050
Sr., et al. v. Islamic | cv-12276
| Republic of Iran .-| (GBD) --. - -
(SN)
Lloyd A. Abel Sr., | No, 1:18- 08/15/2019 | ECF No. 4872 | 09/03/2019 | ECF No. 5048
et al. v. Islamic cv-11837
Republic of Iran (GBD)
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Jessica DeRubbio, | No. 1:18- | 05/03/2019 | ECF No. 4508 05/28/2019 | ECF No. 4563.
etal.v. islamic _ cv-05306
Republic of Iran (GBD)
(SN)
Roberta Agyeman, | No. 1:18- | 05/23/2019 | ECF No. 4534 | 06/21/2019 | ECF No, 4597
et al. v. Islamic cv-05320
Republic of Iran (GBD)
(SN)
Marinella No. 1:18- | 08/14/2019 | ECF No. 4856 | 09/03/2019 | ECF No. 5054
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of Iran (SN)
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al. v. Islamic (GBD)
Republic of fran (SN)
Chang Don Kim, et | No. 1:18- 08/14/2019 | ECF No. 4841 | 09/03/2019 | ECF No, 5049
al. v. Islamic cv-11870
(GBD)

 

 

 

 
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Republic of Iran (SN)
August Bernaerts, | No, 1:19- 11/12/2021 | ECF No. 7329 | 01/04/2022 | ECF No. 7522
et al, v. Islamic cv-11865
Republic of Iran (GBD)
(SN)
Paul Asaro, etal. | No. 1:20- | 11/12/2021 | ECF No. 7329 | 01/04/2022 | ECF No. 7522
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Michael Bianco, et | No. 1:20- | 11/12/2021 | ECF No. 7329 01/04/2022 |-ECF No. 7522
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Republic of Iran (GBD)
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Ber Barry Aron, et | No. 1:20- | 11/12/2021] ECF No. 7399 | 01/04/2022 | ECF No. 7522
al, v. Islamic cv-09376
| Republic of ran _| (GBD)
(SN)

 

 

 

; together with the entire record in this case; IT IS HEREBY

ORDERED that service of process in the above-captioned matters was effected upon

Iran in accordance with 28 U.S.C, § 1608(a) for sovereign defendants and 28 U.S.C. § 1608(b)

for agencies and instrumentalities ¢ of sovereign defendants; and it it is s further

ORDERED that partial final judgment i is entered against Tran on behalf of the Plaintiffs

in the above- captioned r matters, as identified i in the attached Exhibit

__ parent, © child, or sibling (or the

S A, who a are each a spouse,

in the terrorist attacks on september 11, 2001, as indicated in the attached Exhibits A; and it is

further

 

| This only applies for the plaintiffs in this motion in the abov

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e-referenced 2018 matters.

e estate e of a A SPOUSE, parent, child, or sibling) ofa an individual killed

 
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ORDERED that Plaintiffs identified in the attached Exhibits A are awarded solatium
damages of $12,500,000 per spouse, $8,500,000 per parent, $8,500,000 per child, and
$4,250,000 per sibling, as set forth in the attached Exhibits A; and it is further

ORDERED that partial final judgment is entered against Iran on behalf of the Plaintiffs
in the above-captioned matters, as identified in the attached Exhibits B, who are each the estate

. of a victim of the terrorist attacks on September 11, 2001,-as indicated in the attached Exhibits B
and it is further

ORDERED that Plaintiffs identified in the attached Exhibits B are awarded

compensatory damages for decedents’ pain and suffering in an amount of of $2, 000, 000 per estate,

as set forth in the attached Exhibits B; and it is further
- ORDERED that the Plaintiff identified in the expert report submitted in support of the
Declaration of Jerry S. Goldman, Esq. (“Goldman Declaration”) (and identified in Exhibits B), is
awarded economic damages as set forth in the attached Exhibits B and as supported by the expert

report and analysis tendered in conjunction with the Goldman Declaration; and it is further

ORDERED that the Plaintiffs identified in the attached Exhibits A and Exhibits B are

September 11, 2001 until the date of judgment, and it is further
ORDERED that the Plaintiffs identified in the attached Exhibits A and Exhibits B may
— oom gmt and application for punitive damages, economic damages, or other damages (to the extent” ~~
such awards have not previously been ordered) at a later date consistent with any future rulings
made by this Court on this issue; and it is further

ORDERED that the remaining Plaintiffs in the above-captioned matters not appearing in

the attached Exhibits A and Exhibits B may submit in later stages applications for damages

 
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awards, and to the extent they are for solatium damages or by estates for compensatory damages
or for decedents’ pain and suffering from the September 11" attacks, they will be approved
consistent with those approved herein for the Plaintiffs appearing in the attached Exhibits A and

Exhibits B.

SO ORDERED:

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GE@NGE ANIELS
U Stated District Judge

 

 
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